         Case 1:21-cr-00028-APM Document 479 Filed 11/02/21 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
                    vs.                         *        Case No. 1:21-cr-00028-2 (APM)
                                                *
DONOVAN CROWL,                                  *
         Defendant                              *
                                                *

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                          CONSENT MOTION TO EXTEND TIME TO
                               FILE PRETRIAL MOTIONS

       Donovan Crowl, by his undersigned counsel, respectfully moves this Honorable Court to

extend the time for filing pretrial motions for thirty days to December 2, 2021. This is the third

request for an extension of the motions deadline. AUSA Rakoczy consents to this request.

       1.      Discovery in the case is voluminous and continues to be produced.

       2.      A number of the motions to be filed in this case involve complex and novel legal

issues that require substantial time to research and prepare and cannot be completed without review

of the discovery.

       3.      Despite due diligence, counsel has been unable to review all the discovery, fully

research the issues and prepare the necessary motions. In addition, counsel has a heavy caseload of

other cases complex cases.
         Case 1:21-cr-00028-APM Document 479 Filed 11/02/21 Page 2 of 2




       WHEREFORE, Donovan Crowl, respectfully requests that the Court extend the time for

filing pretrial motions for an additional 30-days to and including December 2, 2021.

                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez


                                                    Carmen D. Hernandez
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                                                    Counsel for Donovan Crowl


                                CERTIFICATE OF SERVICE

     I hereby certify that the instant notice was served on all counsel of record 2nd day of
November, 2021 on all counsel of record via ECF.



                                                            /s/

                                                     Carmen D. Hernandez




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